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 1                         AFFIDAVIT OF GEOFFREY PROVENZALE
 2 STATE OF WASHINGTON                  )
                                        )      ss
 3
     COUNTY OF KING                     )
 4
 5 I, Geoffrey Provenzale, a Special Agent with the Drug Enforcement Administration,
 6 Seattle, Washington, having been duly sworn, state as follows:
 7                 I.      INTRODUCTION AND AGENT BACKGROUND
 8                 I am employed as a Special Agent (SA) with the United States Drug
 9 Enforcement Administration (DEA), and have been so employed since April 2015. I am
10 currently assigned to the Seattle Field Division. In this capacity, I investigate violations
11 of the Controlled Substance Act, Title 21, United States Code, Section 801 et seq., and
12 related offenses. I have received specialized training in the enforcement and
13 investigation of the Controlled Substance Act. I have received over 620 hours of
14 classroom training including but not limited to, drug identification, drug interdiction,
15 detection, money laundering techniques and schemes, smuggling, and the investigation of
16 individuals and/or organizations involved in the illegal possession, possession for sale,
17 sales, importation, smuggling, cultivation, manufacturing and illicit trafficking of
18 controlled substances.
19                 In my role as a Special Agent for the Drug Enforcement Administration, I
20 have negotiated for and purchased narcotics acting in an undercover capacity. I have
21 participated in narcotics investigations (i.e. heroin, fentanyl, cocaine, marijuana, and
22 methamphetamine) which have resulted in the arrest of individuals and the seizure of
23 illicit narcotics and/or narcotic-related evidence and the forfeiture of narcotics related
24 assets. I have been involved in the service of search warrants as part of these
25 investigations. As a result of my experience in serving these search warrants, I have
26 encountered and have become familiar with various tools, methods, trends, paraphernalia
27 and related articles utilized by various traffickers in their efforts to import, conceal, and
28                                                                         UNITED STATES ATTORNEY
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 1 distribute controlled substances. I am also familiar with the various methods of
 2 packaging, delivering, transferring, and laundering drug proceeds. Additionally, through
 3 my training and experience, I can identify illegal drugs by sight, odor, and texture.
 4                I have written affidavits in support of court authorized federal warrants and
 5   orders in the Western District of Washington for TIII interceptions, GPS tracking of
 6   telephones, search warrants, and tracking of vehicles. Additionally, I have testified in
 7   grand jury proceedings, written investigative reports, and conducted and participated in
 8   numerous interviews of drug traffickers, of various roles within drug organizations, which
 9   has provided me with a greater understanding of the methods by which drug trafficking
10   organizations operate.
11                             II.    PURPOSE OF AFFIDAVIT
12                This application seeks permission to search the following locations, which
13 are more particularly described in Attachment A, attached hereto and incorporated by this
14 reference as if set forth fully herein. As summarized herein, each location is believed to
15 be utilized by one or more participants in the crimes described herein, and there is
16 probable cause to believe evidence of those crimes will be found at these locations:
17                a.     10015 Lake City Way NE, Unit #328, Seattle, Washington:
18 Hereinafter  referred to as the “target location.” Investigators believe the target location
   is utilized by Richard Sharon.
19
20                b.     A black 2002 Infiniti Q45, Washington license plate number
   ACG2169 and VIN JNKBF01A22M004107: Hereinafter referred to as the “target
21 vehicle.” According to Washington Department of Licensing (DOL) the target vehicle
                                             st
22 is registered to Richard Sharon at 815 1 Avenue, Apt. 335, Seattle, Washington.
23                I believe the target location and target vehicle are presently being used in
24 the Western District of Washington in furtherance of the following federal criminal
25 offenses: Distribution of Controlled Substances, in violation of 21 U.S.C. § 841(a) (1),
26 and/or conspiracy to commit that same offense in violation of 21 U.S.C. § 846.
27
28                                                                       UNITED STATES ATTORNEY
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 1                I have obtained the facts set forth in this affidavit through my personal
 2 participation in the investigation described below; from oral and written reports of other
 3 law enforcement officers; and from records, documents and other evidence obtained
 4 during this investigation. I have obtained and read official reports prepared by law
 5 enforcement officers participating in this investigation and in other investigations by the
 6 DEA. When I refer to registration records for vehicles, I am relying on records obtained
 7 from the Washington State DOL. Insofar as I have included event times in this affidavit,
 8 those event times are approximate.
 9                Since this affidavit is being submitted for the limited purpose of obtaining
10 authority to search the target location and target vehicle, I have not included every fact
11 known concerning this investigation. I have set forth only the facts that I believe are
12 essential for a fair determination of probable cause that the target subject(s) are involved
13 in drug trafficking, and the target location and target vehicle are being used to facilitate
14 that drug trafficking.
15                          III.   SUMMARY OF INVESTIGATION
16                The DEA and Seattle Police Department (SPD) are investigating Richard
17 Sharon who distributes narcotics, including crystal methamphetamine, in the Western
18 District of Washington. Through the use of a confidential source, investigators have
19 purchased crystal methamphetamine from Sharon.
20              Through a state authorized court order, investigators have also obtained
21 tracking information for the target vehicle, which is registered to Sharon, and a phone
22 associated with Sharon: 206-618-2421 (hereinafter the “target telephone”). Location
23 tracking data of both the target vehicle and target telephone have revealed that Sharon
24 appears to utilize the target location on a regular basis.
25
26
27
28                                                                        UNITED STATES ATTORNEY
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 1   IV.       PROBABLE CAUSE FOR SEARCHING THE TARGET LOCATION AND
                                TARGET VEHICLE
 2
 3                              Controlled purchase from Richard Sharon
 4                    During August 2018, a confidential source (CS1) 1 identified Richard
 5 Sharon to investigators as an individual who had access to multiple pound quantities of
 6 crystal methamphetamine. CS1 provided the target telephone as a number he/she
 7 communicated with Sharon on. Investigators then obtained a driver’s license photo of
 8 Sharon provided by WA DOL and showed it to CS1. CS1 confirmed the photo was of
 9 who he/she knew as Richard Sharon. A subsequent records check of the target telephone
10 revealed the target telephone was subscribed to “Richard D. Sharon” at the same address
                                             st
11 the target vehicle is registered to: 815 1 Avenue, Apt. 335, Seattle, Washington.
12 Sharon has also provided the target telephone to law enforcement in the past as a contact
13 number; based on police reports contained in law enforcement databases.
14                    On a date during mid-August 2018, CS1, at the instruction of investigators,
15 arranged a meeting with Sharon to purchase a quantity of crystal methamphetamine in
16 excess of 500 grams.
17                    On the same date, at approximately 2:00 p.m., investigators met with CS1
18 prior to the meeting with Sharon. CS1 and his/her vehicle were searched both prior to
19 and after the meeting with Sharon. Both were found to be free of unauthorized items and
20 contraband.
21                    CS1 stated that Sharon has an office at “ActivSpace” located at Lake City
22 Way NE on the 3rd floor, which is the same address as the target location. CS1 added
23 “ActivSpace” is a building that rents small office spaces and that it was possible that
24 Sharon utilizes the “ActivSpace” to store narcotics, though CS1 stated he/she had no
25
26   1
      According to NCIC, CS1 was convicted before 2011 in the Western District of Washington for Conspiracy to
27   Distribute a Controlled Substance, Distribution of Cocaine, Possession with Intent to Distribute Cocaine and
     Possession with Intent to Distribute Methamphetamine. CS1 was arrested in 2018 for distribution of controlled
28   substances and is cooperating with law enforcement for sentencing consideration.
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 1 proof of this. CS1 also stated that Sharon drives a model Q45 Infiniti. Investigators were
 2 previously aware that Sharon is the legal owner of an Infiniti Q45, WA/ACG2169: the
 3 target vehicle.
 4                 Investigators then provided CS1 with official funds to purchase
 5 methamphetamine from Sharon. CS1 was also provided with an audio
 6 recording/transmitting device. CS1 was kept under constant surveillance while travelling
 7 to the meet location with Sharon: a public parking lot located in Seattle, Washington.
 8                 On the same date, at approximately 3:47 p.m., an investigator observed the
 9 target vehicle arrive in the parking lot, and CS1 enter the front passenger seat of the
10 target vehicle. An investigator observed that upon entering the target vehicle, CS1 was
11 empty handed. The target vehicle then then left the parking lot, drove a short distance,
12 returned to the parking lot, and parked in the rear of the lot. Investigators later noted it
13 appeared the target vehicle was “squaring the block,” a phrase meaning the vehicle
14 circled the area.
15                 At approximately 4:00 p.m., an investigator observed CS1 exit the target
16 vehicle carrying a small black box. CS1 was followed to a neutral location after the
17 meeting with Sharon where he/she met with investigators. Immediately upon meeting
18 with investigators, CS1 turned over to investigators a quantity of suspected crystal
19 methamphetamine in the aforementioned small box. CS1 stated that Sharon was the only
20 occupant of the target vehicle.
21                 The target vehicle remained parked at the meeting location for a short
22 period of time and investigators were unable to see into the target vehicle due to dark tint
23 on the target vehicle’s windows. Investigators conducted constant visual surveillance on
24 the target vehicle during this time.
25                 At approximately 4:05 p.m., the target vehicle departed the parking lot and
26 was followed to a nearby gas station parking lot where investigators observed and
27 photographed the driver as he exited the target vehicle. At that time, investigators
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 1 positively identified the driver of the target vehicle as Richard Sharon based on a
 2 Washington DOL photo for Sharon. Surveillance was terminated shortly thereafter.
 3                 Pursuant to the controlled purchase, investigators transported the suspected
 4 methamphetamine to the Seattle PD North Precinct. At the Seattle PD North Precinct,
 5 the narcotics were photographed, weighed, and a presumptive field test was conducted.
 6 The suspected narcotics tested positive for methamphetamine.
 7                               Events after controlled purchase
 8                 On August 30, 2018, subsequent to the controlled purchase, Washington
 9 State Superior Court Judge Jean A. Rietschel authorized state tracking warrants for the
10 target vehicle and target telephone: 206-618-2421.
11                 Upon obtaining tracking data for both the target vehicle and target
12 telephone, investigators observed that both the target telephone and the target vehicle
13 traveled daily to 10015 Lake City Way NE, Seattle, Washington: the target location.
14 The target location is a unit within a building called “Activspace” which offers units for
15 individuals as office/creative space, with secure outer entrances and locked units. In
16 addition, on September 18, 2018, investigators received records from “ActivSpace” for
17 current tenants/renters at 10015 Lake City Way NE, Seattle, Washington, and noted that
18 Richard Sharon was listed on the tenant list for Unit #328.
19                 Per electronic tracking data, Sharon appears to travel frequently during
20 night hours (between 7 p.m. and 6 a.m.). At times, the target vehicle will stay parked at
21 the target location during the late evening only to depart and travel to a local casino at
22 2:30 a.m. not returning until the following late morning. The tracking data indicates that
23 Sharon appears to have no location he “overnights” at on a regular basis as the tracking
24 data reveals he regularly travels late at night, at times appearing to “overnight” at hotels
25 or casinos in the Seattle metropolitan area. However, on occasion, tracking data has
26 indicated Sharon “overnighted” at the target location, even though the target location
27 does not permit residential use.
28                                                                        UNITED STATES ATTORNEY
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 1                 Tracking data also indicates that Sharon appears to have no location he
 2 travels to on a daily basis besides the target location. This is significant as it is probable
 3 the target location is a location where Sharon’s personal property is stored. Tracking
 4 data also reveals that Sharon’s listed address on his driver’s license, and the registered
 5 address of both the target telephone and the target vehicle, are not locations he has
 6 appeared to travel to at all during the tracking period. Based on my training and
 7 experience, narcotics traffickers will at times register vehicles and phones in nominee or
 8 old addresses in an effort to thwart law enforcement. Based upon information received
 9 from CS1, “ActivSpace,” as well as the target vehicle travelling to 10015 Lake City Way
10 NE on a daily basis, I believe that the target location is a location utilized by Sharon
11 regularly as a possible “stash house.”
12                 Based on my training and experience, narcotics traffickers at times will
13 maintain a “stash house” (that they may or may not also utilize as a regular residence),
14 which they believe is a safe/secure place to store narcotics and/or proceeds from the sale
15 of narcotics. I believe that due to Sharon appearing to have access to large amounts of
16 narcotics; as well as the target location being an address he travels to daily; it is probable
17 the target location will have narcotics and/or proceeds stored at it.
18                 On September 16, 2018, investigators observed another meeting with
19 Sharon and CS1. During this meeting, prior to meeting with CS1, investigators observed
20 the target vehicle arrive in the area of the meet location: a restaurant in Seattle,
21 Washington. Per tracking data, the target telephone appeared to travel to the area of the
22 restaurant in tandem with the target vehicle. I later observed Sharon enter into the
23 restaurant and speak with CS1. Upon departing the restaurant, an investigator observed
24 Sharon enter the target vehicle and depart the area. Sharon was the sole occupant of the
25 target vehicle. Tracking data showed that Sharon returned directly from the meeting to
26 the target location.
27
28                                                                         UNITED STATES ATTORNEY
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 1                CS1 has also provided information that Sharon is “an investigator.” CS1
 2 later clarified that he/she believes Sharon is an investigator for a defense lawyer who law
 3 enforcement have discovered represents federal criminal defendants in this district. Toll
 4 records for Sharon reflect over 200 communications between the criminal defense
 5 attorney and Sharon between March 20, 2018, and July 20, 2018. After a conversation
 6 between CS1 and Sharon, CS1 reported to investigators that Sharon had identified an
 7 individual who was a cooperator for the government. Based on my experience, defense
 8 investigators for federal defense lawyers have access to discovery for federal defendants
 9 as well as protected material including information relating to cooperators. Records
10 received from the state of Washington list Rich Sharon as receiving a total of $150 in
11 wages between January 1, 2014, and March 31, 2018 (the last available data). Although
12 Sharon appears to have no reported wages, he could simply be paid with cash for his
13 services or work as a contractor. Due to this information, the warrant also seeks
14 permission to seize any legal documents reflecting criminal investigations, including any
15 legal discovery found within the target location and target vehicle as evidence of any
16 violation of a federal court’s Protective Order.
17          V.     KNOWLEDGE BASED ON TRAINING AND EXPERIENCE
18                Based on my training and experience, and my discussions with other
19 experienced officers and agents involved in drug investigations, I know the following:
20              a.      During the execution of search warrants, it is common to find
21 papers, letters, billings, documents, and other writings that show ownership, dominion,
22 and control of vehicles, residences, and/or storage units.
23                b.       It is common for drug dealers to secrete contraband, proceeds of
24 drug sales, and records of drug transactions in secure locations within their vehicles,
25 residences, and/or storage units for their ready access and to conceal them from law
26 enforcement.
27
28                                                                        UNITED STATES ATTORNEY
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 1                 c.      Narcotics traffickers maintain books, records, receipts, notes,
 2 ledgers, airline tickets, money orders, and other papers relating to the transportation,
 3 ordering, sale, and distribution of controlled substances. Narcotics traffickers commonly
 4 “front,” that is, provide on consignment, controlled substances to their clients. These
 5 books, records, receipts, notes, and ledgers, commonly known as “pay and owe sheets,”
 6 are maintained where traffickers have ready access to them.
 7                 d.      Traffickers of controlled substances, and those who assist them,
 8 maintain and tend to retain accounts or records of their drug trafficking activities,
 9 including lists of drug quantities and money owed, telephone records including contact
10 names and numbers, photographs, and similar records of evidentiary value. These items
11 are generally kept in locations where drug traffickers believe their property is secure and
12 will remain undetected from law enforcement, such as inside their homes and vehicles.
13 Sometimes, these locations are not their primary residence, but instead used for the
14 purposes of storing and distributing drugs.
15                 e.      Traffickers of controlled substances commonly maintain records
16 reflecting names or nicknames, addresses, vehicles, and/or telephone numbers of their
17 suppliers, customers and associates in the trafficking organization. Traffickers
18 commonly maintain this information in books or papers as well as in cellular telephones
19 and other electronic devices. Traffickers often maintain cellular telephones for ready
20 access to their clientele and to maintain their ongoing narcotics business. Traffickers
21 frequently change their cellular telephone numbers to avoid detection by law
22 enforcement, and it is common for traffickers to use more than one cellular telephone at
23 any one time.
24                 f.      Traffickers maintain evidence of their criminal activity at locations
25 that are convenient to them, including their residences and vehicles. This evidence often
26 includes more than contraband and paraphernalia and includes financial records, records
27 of property and vehicle ownership, records of property rented, records of storage facilities
28                                                                         UNITED STATES ATTORNEY
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 1 used to hide drugs or currency, and other documentary evidence relating to commission
 2 of, and proceeds from, their crimes. Narcotics traffickers sometimes take or cause to be
 3 taken photographs and/or video recordings of themselves, their associates, their property,
 4 and their illegal product, or have photo or video security systems that record images from
 5 their homes or property. These individuals usually maintain these photographs and
 6 recordings in their possession or at their premises, in a safe place. Such evidence may be
 7 kept at a safe location for a long time after the drug deal(s) to which they pertain are
 8 completed, if the location remains under the control of the trafficker.
 9                 g.       Traffickers frequently maintain items necessary for weighing,
10 packaging and cutting drugs for distribution. This paraphernalia often includes, but is not
11 limited to, scales, plastic bags and other packaging materials, sifters, containers, and
12 cutting/diluting agents and items to mask the odor of narcotics. Persons trafficking and
13 using controlled substances frequently sell more than one type of controlled substance at
14 any one time.
15                 h.       It is common for drug dealers to also be users of their product, and it
16 is common for drug users to maintain paraphernalia associated with the use of controlled
17 substances, such as syringes, pipes, spoons, containers, straws, and razor blades.
18                 i.       Traffickers frequently maintain records, books, notes, ledgers, travel
19 documents, and other papers relating to the transportation and distribution of controlled
20 substances in locations convenient to them, such as their residences and vehicles.
21                 j.       Traffickers often maintain weapons, including firearms and
22 ammunition, in secure locations such as their residences and vehicles, in order to protect
23 their drugs and drug proceeds.
24                 k.       Traffickers often have false identification documents and
25 identification documents in the names of others. Traffickers very often place assets in
26 names other than their own, or use fictitious names and identification, to avoid detection
27
28                                                                          UNITED STATES ATTORNEY
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 1 of these assets by government agencies, while continuing to use these assets and exercise
 2 dominion and control over them.
 3                 l.       Drug trafficking is a cash business, often involving large amounts of
 4 cash at any one time, so drug traffickers often have money counters.
 5                 m.       Persons involved in drug trafficking conceal in their residences
 6 caches of drugs, large amounts of currency, financial instructions, precious metals,
 7 jewelry, and other items of value and/or proceeds of drug transactions as well as evidence
 8 of financial transactions relating to obtaining, transferring, secreting, or the spending of
 9 large sums of money made from engaging in narcotics trafficking activities.
10                 o.       Unexplained wealth is probative evidence of crimes motivated by
11 greed, in particular, trafficking in controlled substances.
12                 p.       Illegal drug trafficking is a continuing activity over months and even
13 years. Illegal drug traffickers will repeatedly obtain and distribute controlled substances
14 on a somewhat regular basis, much as any distributor of a legitimate commodity would
15 purchase stock for sale, and, similarly, drug traffickers will have an “inventory,” which
16 fluctuates in size depending upon various factors, including the demand and supply for
17 the product. I would expect the trafficker to keep records of his illegal activities for a
18 period of time extending beyond the time during which he actually possesses illegal
19 controlled substances, in order that he can maintain contact with his criminal associates
20 for future drug transactions, and so that he can have records of prior transactions for
21 which, for example, he might still be owed money, or might owe someone else money.
22 These records are often created in code
23                 q.       Drug trafficking is a cash business, and in order to escape notice
24 from authorities for using unexplained income, or hide excessive cash from illegal
25 activities, traffickers either keep large quantities of cash at home or other secure
26 locations, such as safe deposit boxes, or convert the cash into other valuable assets, such
27 as jewelry, precious metals, monetary instruments, or other negotiable forms of wealth.
28                                                                          UNITED STATES ATTORNEY
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 1 Records of such conversions are often stored where a trafficker lives or in other secure
 2 locations such as safe deposit boxes.
 3                 r.       Money launderers often have banking records to include but not
 4 limited to, deposit or withdrawal slips, bank statements, checks, or money orders. Some
 5 of these banking records may not be in their own name. Money launderers often have
 6 several accounts documented in some form, or instructions detailing how to handle each
 7 respective account. For example, they may have a list of accounts belonging to several
 8 different people with instructions for how much to deposit or withdraw from each and
 9 often maintain this information for long periods of time in their residences or safe deposit
10 boxes.
11                 s.       Money launderers often have records or evidence related to how the
12 proceeds were spent or concealed and often maintain this information for long periods of
13 time in their residences or safe deposit boxes. Evidence may include jewelry and/or
14 vehicles, as well as the contents of storage lockers, safe deposit boxes or bank accounts.
15 The use of bank accounts is a common money movement technique used by drug
16 traffickers to receive payment for narcotics from customers outside of their geographic
17 region. It is common for a trafficker to use several bank accounts for this purpose
18 simultaneously in an attempt to avoid detection by the financial institutions and/or law
19 enforcement. The use of multiple accounts, and the commingling of illicit funds with
20 legitimate funds in particular, is often part of the plan to conceal the illegal activity or
21 may be part of the overall integration mechanism by which the illicit funds are made to
22 appear as part of the legitimate income so that only a small portion of or even none of the
23 funds from an account are seized.
24          28.    Based on my training and experience, and that of those around me, I also
25 know that drug dealers use cellular telephones as a tool or instrumentality in committing
26 their criminal activity, to include laundering their proceeds. They use them to maintain
27 contact with their suppliers, distributors, and customers. They prefer cellular telephones
28                                                                          UNITED STATES ATTORNEY
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 1 because, first, they can be purchased without the location and personal information that
 2 land lines require. Second, they can be easily carried to permit the user maximum
 3 flexibility in meeting associates, avoiding police surveillance, and traveling to obtain or
 4 distribute drugs. Third, they can be passed between members of a drug conspiracy to
 5 allow substitution when one member leaves the area temporarily. Since cellular phone
 6 use became widespread, every drug dealer I have contacted has used one or more cellular
 7 telephones for his or her drug business. I also know that it is common for drug traffickers
 8 to retain in their possession phones that they previously used, but have discontinued
 9 actively using, for their drug trafficking business. These items may be kept for months
10 and months in a safe place controlled by the drug trafficker. Based on my training and
11 experience, the data maintained in a cellular telephone used by a drug dealer is evidence
12 of a crime or crimes. This includes the following:
13                a.        The assigned number to the cellular telephone (known as the mobile
14 directory number or MDN), and the identifying telephone serial number (Electronic
15 Serial Number, or ESN), (Mobile Identification Number, or MIN), (International Mobile
16 Subscriber Identity, or IMSI), or (International Mobile Equipment Identity, or IMEI) are
17 important evidence because they reveal the service provider, allow us to obtain subscriber
18 information, and uniquely identify the telephone. This information can be used to obtain
19 toll records, to identify contacts by this telephone with other cellular telephones used by
20 co-conspirators, to identify other telephones used by the same subscriber or purchased as
21 part of a package, and to confirm if the telephone was contacted by a cooperating source.
22                b.        The stored list of recent received, missed, and sent calls is important
23 evidence. It identifies telephones recently in contact with the telephone user. This is
24 valuable information in a drug investigation because it will identify telephones used by
25 other members of the organization, such as suppliers, distributors and customers, and it
26 confirms the date and time of contacts. If the user is under surveillance, it identifies what
27 number he called during or around the time of a drug transaction or surveilled meeting.
28                                                                           UNITED STATES ATTORNEY
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 1 Even if a contact involves a telephone user not part of the conspiracy, the information is
 2 helpful (and thus is evidence) because it leads to friends and associates of the user who
 3 can identify the user, help locate the user, and provide information about the user.
 4 Identifying a defendant’s law-abiding friends is often just as useful as identifying his
 5 drug-trafficking associates.
 6                c.        Stored text messages are important evidence, similar to stored
 7 numbers. Agents can identify both drug associates, and friends of the user who likely
 8 have helpful information about the user, his location, and his activities.
 9                d.        Drug traffickers increasingly use applications on smart phones that
10 encrypt communications such as WhatsApp, or applications that automatically delete
11 messages, such as Snapchat, in order to avoid law enforcement monitoring or recording
12 of communications regarding drug trafficking and/or money laundering. Evidence of the
13 use of such applications can be obtained from smart phones, and is evidence of a smart
14 phone user’s efforts to avoid law enforcement detection.
15                 e.       Photographs on a cellular telephone are evidence because they help
16 identify the user, either through his or her own picture, or through pictures of friends,
17 family, and associates that can identify the user. Pictures also identify associates likely to
18 be members of the drug trafficking organization. Some drug dealers photograph groups
19 of associates, sometimes posing with weapons and showing identifiable gang signs.
20 Also, digital photos often have embedded “geocode” or GPS information embedded in
21 them. Geocode information is typically the longitude and latitude where the photo was
22 taken. Showing where the photo was taken can have evidentiary value. This location
23 information is helpful because, for example, it can show where coconspirators meet,
24 where they travel, and where assets might be located
25                 f.       Stored address records are important evidence because they show the
26 user’s close associates and family members, and they contain names and nicknames
27 connected to phone numbers that can be used to identify suspects.
28                                                                         UNITED STATES ATTORNEY
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1                                       ATTACHMENT A
2                               PROPERTY TO BE SEARCHED
3
4
     10015 Lake City Way NE, Unit #328, Seattle, Washington – Referred to herein as the
5
     “target location.” The location is an “ActivSpace” office/living space with an unknown
6
     amount of units. The location is located within a larger building that sits to the West of
7
     Lake City Way NE, south of NE 102nd St and north of NE 100th St. The structure is
8
     painted in red and gray.
9
10
     A black 2002 Infiniti Q45, Washington license plate number ACG2169 and VIN
11
     JNKBF01A22M004107 – Referred to herein as the “target vehicle.”
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28                                                                         UNITED STATES ATTORNEY
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